                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-12

                                            No. 475A19

                                       Filed 12 March 2021

     IN THE MATTER OF: Q.P.W.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 16

     September 2019 by Judge Tonia A. Cutchin in District Court, Guilford County. Heard

     in the Supreme Court on 13 January 2021.


           Mercedes O. Chut for petitioner-appellee Guilford County Department of Health
           and Human Services.

           Christopher S. Edwards, for appellee Guardian ad Litem.

           Wendy C. Sotolongo, Parent Defender, by Annick I. Lenoir-Peek, Deputy Parent
           Defender, for respondent-appellant mother.


           HUDSON, Justice.

¶1         Respondent-mother appeals from the trial court’s orders terminating her

     parental rights to Q.P.W. (Quentin).1 After careful review, we affirm.

                           I.   Factual and Procedural History

¶2         Respondent-mother was the victim of a crime that left her pregnant at the age

     of thirteen. Respondent-mother was later placed in the custody of Guilford County

     Department of Social Services (DSS) pursuant to a juvenile dependency petition.



           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
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     Quentin was born to respondent-mother on 8 March 2014. Shortly after he was born,

     respondent-mother left Quentin in the hospital for two days without informing

     hospital staff that she was leaving.

¶3         On 20 May 2014, Quentin was adjudicated to be a dependent juvenile after the

     trial court found that respondent-mother was too young to provide proper care for

     herself and Quentin, that respondent-mother had left Quentin in the hospital, and

     that respondent-mother was in DSS custody herself. Respondent-mother and

     Quentin were placed in the same foster home and remained in a joint placement, with

     only brief interruptions, from May 2014 to November 2017.

¶4         Respondent-mother entered into a case plan with DSS on 5 June 2014.

     Pursuant to her case plan at that time, respondent-mother was required to attend

     school, complete parenting education and training, attend Quentin’s medical

     appointments, abide by the rules of her placement to avoid disruption, and participate

     in individual therapy. Quentin’s primary permanent plan at that time was

     reunification. Initially, respondent-mother engaged in her case plan by attending

     school, participating in therapy, participating in parent education programs, and

     attending medical appointments with her son.

¶5         However, respondent-mother also disobeyed the rules of her placements and

     ran away from her placements causing several disruptions to her joint placement

     with Quentin from 2014 to 2016. Eventually, respondent-mother refused to
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     participate in additional parenting classes, stopped attending school, stopped

     participating in therapy, and continued to disrupt her placement.

¶6         On 2 June 2017, the trial court entered an order warning respondent-mother

     that her failure to comply with her case plan could result in a change to Quentin’s

     primary permanent plan. By then, Quentin had been in over twelve placements.

¶7         Respondent-mother turned eighteen in November 2017 and was no longer

     eligible to continue placement with DSS because she was neither working nor

     attending school. As a result, her joint placement with Quentin was disrupted. From

     November 2017 through August 2018, respondent-mother had some contact with

     Quentin. On 10 August 2018, respondent-mother had her last visit with Quentin, and

     she failed to confirm a single subsequent visit as required by her case plan.

¶8         On 30 August 2018, DSS updated respondent-mother’s case plan and identified

     areas for improvement including obtaining employment, improving her parenting

     skills, and obtaining stable housing. In October 2018, DSS identified respondent-

     mother’s failure to address her mental health issues, her lack of stable housing, her

     failure to consistently visit with Quentin, her failure to comply with the

     recommendations from her parenting evaluation, and her failure to address her

     parenting deficits by completing parenting classes as barriers to achieving

     reunification.

¶9         On 16 November 2018, the trial court noted that respondent-mother had failed
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       to comply with requests for drug screenings, was not in appropriate housing, had

       failed to show up to work the previous week, had not attended any of Quentin’s

       medical appointments since the last court date, had failed to attend therapy since 1

       August 2018, and she had missed 21 visits with Quentin. The trial court found that

       respondent-mother was not actively participating in or cooperating with her case plan

       and found that she was not making adequate progress.

¶ 10         On 23 January 2019, the trial court terminated respondent-mother’s visits

       with Quentin and named several barriers to reunification including respondent-

       mother’s failure to participate in parenting classes, complete a psychological

       assessment and address her mental health needs, find safe and appropriate housing,

       and visit Quentin consistently. The primary plan for Quentin was changed to

       adoption. On 24 May 2019, the trial court found that respondent-mother was still not

       in compliance with the housing, parenting, and substance abuse portions of her case

       plan, and was not making adequate progress within a reasonable period of time.

¶ 11         In April 2019 DSS petitioned the trial court to terminate respondent-mother’s

       parental rights (TPR petition) alleging that termination was appropriate under

       N.C.G.S. § 7B-1111(a)(1), (2), (3), (6), and (7). A hearing on the TPR petition was held

       on 13 and 14 August 2019. On 16 September 2019 the trial court entered an order

       terminating respondent-mother’s parental rights pursuant to N.C.G.S. § 7B-

       1111(a)(1), (2), (3), (6), and (7) (TPR order). Respondent-mother filed a notice of
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       appeal on 18 September 2019.

                                    II.   Standard of Review

¶ 12          We have previously explained the standard of review for termination of

       parental rights appeals as follows:

                     Proceedings to terminate parental rights consist of an
                     adjudicatory stage and a dispositional stage. At the
                     adjudicatory stage, the petitioner bears the burden of
                     proving by clear, cogent, and convincing evidence that one
                     or more grounds for termination exist under section 7B-
                     1111(a) of the North Carolina General Statutes. We review
                     a trial court’s adjudication under N.C.G.S. § 7B-1109 to
                     determine whether the findings are supported by clear,
                     cogent and convincing evidence and the findings support
                     the conclusions of law. The trial court’s conclusions of law
                     are reviewable de novo on appeal.

       In re K.H., 375 N.C. 610, 612 (2020) (cleaned up).

                                          III.      Analysis

¶ 13          In this case, the trial court determined that grounds existed to terminate

       respondent-mother’s parental rights based on neglect, willful failure to make

       reasonable progress, willful failure to pay a reasonable portion of her child’s cost of

       care, dependency, and willful abandonment. N.C.G.S. § 7B-1111(a)(1)–(3), (6)–(7)

       (2019). Respondent mother has not contested any findings of fact,2 and thus, they are

       binding on appeal. In re T.N.H., 372 N.C. 403, 407 (2019) (“Findings of fact not


              2 Respondent-mother discusses findings 19 and 26 in her brief, but her only argument

       is that these findings include irrelevant information. She makes no argument that these
       findings are not supported by clear, cogent, and convincing evidence. Furthermore, we do not
       rely on either of these findings in reaching our disposition.
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       challenged by respondent are deemed supported by competent evidence and are

       binding on appeal.”).

¶ 14         We begin our review of the TPR order to determine whether the trial court’s

       findings of fact support its conclusion that there were grounds to terminate

       respondent-mother’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(2), which

       provides as follows:

                    The parent has willfully left the juvenile in foster care or
                    placement outside the home for more than 12 months
                    without showing to the satisfaction of the court that
                    reasonable progress under the circumstances has been
                    made in correcting those conditions which led to the
                    removal of the juvenile. No parental rights, however, shall
                    be terminated for the sole reason that the parents are
                    unable to care for the juvenile on account of their poverty.

       N.C.G.S. § 7B-1111(a)(2).

¶ 15         We have previously explained that:

                    [t]ermination under this ground requires the trial court to
                    perform a two-step analysis where it must determine by
                    clear, cogent, and convincing evidence whether (1) a child
                    has been willfully left by the parent in foster care or
                    placement outside the home for over twelve months, and
                    (2) the parent has not made reasonable progress under the
                    circumstances to correct the conditions which led to the
                    removal of the child.

       In re Z.A.M., 374 N.C. 88, 95–96 (2020).

¶ 16         First, we review whether the findings support the conclusion that Quentin had

       been willfully left in foster care or placement outside the home for more than twelve
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       months. “[T]he twelve-month period begins when a child is left in foster care or

       placement outside the home pursuant to a court order, and ends when the motion or

       petition for termination of parental rights is filed.” In re K.H., 375 N.C. at 613

       (quoting In re J.G.B., 177 N.C. App. 375, 383 (2006)). Here, DSS filed its TPR petition

       in April 2019. Therefore, the relevant twelve-month period is from April 2018 to April

       2019.

¶ 17           The trial court made the following relevant findings of fact:

                     14. . . . [Respondent-mother] reached the age of majority on
                     November 30, 2017. . . .

                                 ...

                             c. . . . [Respondent-mother] left her placement . . .
                             after reaching the age of majority. . . .

                      ...

                     25. . . .

                             a. The juvenile has been placed in foster care
                             continuously since March 19, 2014.

       These findings demonstrate that Quentin was in foster care and was not sharing a

       placement with his mother beginning in December 2017—more than twelve months

       before DSS filed the TPR petition.

¶ 18           Respondent-mother’s willfulness can be established by evidence that she

       possessed the ability to make reasonable progress but was unwilling to make an

       effort. In re Baker, 158 N.C. App. 491, 494 (2003). The following portions of finding of
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       fact 14 are relevant to respondent-mother’s willfulness:

                    b. . . . [Respondent-mother] was asked to continue
                    parenting education, to address her decision making.
                    Parenting education was offered to [respondent-mother],
                    but she chose not to attend any parenting classes.
                    [Respondent-mother] was referred to PATE on March 31,
                    2017[.] . . . To date, [respondent-mother] has only
                    completed one PATE class and has not made any contact
                    with the facilitator to reengage in the program.

                    ...

                    [Respondent-mother] refused to participate in a
                    psychological evaluation and has indicated that she is tired
                    of completing tasks for [DSS].

                    ...

                    . . . Since reaching the age of majority on November 30,
                    2017, [respondent-mother] has not attended any medical
                    appointments for the juvenile. . . . [Respondent-mother]
                    has missed all her visits with the juvenile since August 10,
                    2018, and has not contacted [DSS] to inquire about
                    reinstating visitation.

                    c. . . . [Respondent-mother] was advised that Section 8 had
                    openings . . . by [DSS] and [respondent-mother] was urged
                    to go apply for the opening immediately. Despite being
                    given this resource, [respondent-mother] moved out of her
                    grandmother’s home and is currently renting a room [in
                    Greensboro]. . . . To-date [sic], [respondent-mother] has
                    failed to demonstrate any stability with regard to her living
                    situation, and she is not in compliance with this component
                    of her case plan.

                    d. . . . To date, [respondent-mother] has not completed a
                    substance abuse assessment.

¶ 19         We determine that these findings support a conclusion of willfulness.
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       Therefore, the findings of fact in the TPR order support the conclusion that

       respondent-mother willfully left Quentin in foster care or placement outside the home

       for over twelve months prior to April 2019.

¶ 20         Next, we review whether the trial court’s findings of fact support its conclusion

       that respondent-mother has not made reasonable progress to correct the conditions

       which led to the removal of Quentin. Regarding the conditions that led to the removal

       of the juvenile, the trial court made the following finding of fact:

                    The conditions that led to the juvenile coming into custody
                    include [respondent-mother’s] inability to provide basic
                    needs for herself and the juvenile due to [respondent-
                    mother’s] status as a minor child in the custody of [DSS];
                    [respondent-mother’s] inability to provide the required
                    medical care for the juvenile; lack of an appropriate adult
                    caregiver for the juvenile; [respondent-mother] leaving the
                    juvenile at the hospital for two days without anyone to
                    make decisions for the juvenile and paternity had not been
                    established.

       Respondent-mother argues that the conditions that led to Quentin’s removal were all

       attributable to her own minor status. She argues that the requirements of her case

       plan did not have a sufficient nexus to that condition. We disagree.

¶ 21         Our Court has previously explained that our appellate case law

                    reflects a consistent judicial recognition that parental
                    compliance with a judicially adopted case plan is relevant
                    in determining whether grounds for termination exist
                    pursuant to N.C.G.S. § 7B –1111(a)(2) even when there is
                    no direct and immediate relationship between the
                    conditions addressed in the case plan and the
                    circumstances that led to the initial governmental
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                    intervention into the family’s life, as long as the objectives
                    sought to be achieved by the case plan provision in question
                    address issues that contributed to causing the problematic
                    circumstances that led to the juvenile’s removal from the
                    parental home. The adoption of a contrary approach would
                    amount to turning a blind eye to the practical reality that
                    a child’s removal from the parental home is rarely the
                    result of a single, specific incident and is, instead, typically
                    caused by the confluence of multiple factors, some of which
                    are immediately apparent and some of which only become
                    apparent in light of further investigation.

       In re B.O.A., 372 N.C. 372, 384–85 (2019).

¶ 22         Here, DSS modified respondent-mother’s case plan and reviewed it several

       times to adjust for her changing circumstances as more information came to light

       about the barriers to reunification. The case plan requirements were tied to

       respondent-mother’s need to demonstrate maturity and stability. For example, in

       order to care for Quentin, respondent-mother needed to learn parenting skills,

       demonstrate a commitment to Quentin on a sustained basis, and find stable housing

       and employment. We conclude that the case plan requirements were properly tied to

       alleviating the conditions which directly or indirectly contributed to the problematic

       circumstances that led to Quentin’s removal—namely, respondent-mother’s

       immaturity and instability.

¶ 23         Regarding respondent-mother’s failure to make reasonable progress, the trial

       court made the following relevant findings of fact:

                    13. [Respondent-mother] has had the opportunity to correct
                    the conditions that led to the juvenile’s removal from the
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home, including but not limited to being offered and
entering into, a service agreement with [DSS]. [DSS]
identified needs arising out of the conditions that led to the
removal of the juvenile and developed a service agreement
to assist [respondent-mother] in addressing those needs.

14. [Respondent-mother] . . . entered into the case plan on
June 5, 2014. On March 26, 2018, . . . [respondent-
mother’s] case plan was updated. . . .The service
agreement was reviewed on August 30, 2018, November
13, 2018, and February 11, 2019. . . .

      ....

      b. Parenting Skills/Mental Health—[Respondent-
      mother] has made minimal progress on the
      parenting component of her case plan. . . .
      [Respondent-mother] completed the parenting
      program at [her placement] in September 2014.
      Because [respondent-mother] continued to take the
      juvenile on unauthorized overnight stays with
      adults who were not authorized by [DSS],
      [respondent-mother] was asked to continue
      parenting education, to address her decision
      making. Parenting education was offered to
      [respondent-mother], but she chose not to attend any
      parenting classes. [Respondent-mother] was
      referred to PATE on March 31, 2017[.] . . . To date,
      [respondent-mother] has only completed one PATE
      class and has not made any contact with the
      facilitator to reengage in the program.

      [Respondent-mother] completed a parenting
      assessment with Dr. McColloch on June 15, 2017.
      Dr. McColloch recommended that [respondent-
      mother] participate in a psychological evaluation,
      trauma focused therapy, individual counseling, and
      parenting classes. . . . [Respondent-mother] last
      attended therapy on August 1, 2018. . . .
      [Respondent-mother] refused to participate in a
      psychological evaluation and has indicated that she
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is tired of completing tasks for [DSS].

....

. . . Since reaching the age of majority on November
30, 2017, [respondent-mother] has not attended any
medical appointments for the juvenile. When
[respondent-mother] and the juvenile were no longer
placed together, . . . [respondent-mother] was . . .
allowed to have supervised visits with the juvenile
at the foster home with the permission of the
juvenile’s foster parent. On October 17, 2018, due to
[respondent-mother] missing twenty-one (21) visits
with the juvenile, visitation between [respondent-
mother] and the juvenile was reduced to one day per
week       for   one    hour.    [Respondent-mother]
subsequently failed to attend any of her scheduled
visits with the juvenile, and her visits were
suspended on January 9, 2019. [Respondent-
mother] has missed all her visits with the juvenile
since August 10, 2018, and has not contacted [DSS]
to inquire about reinstating visitation. [Respondent-
mother] is not in compliance with the parenting
component of her case plan.

c. Placement/Housing—At the commencement of the
underlying     case,    [respondent-mother’s]    only
requirement under this component of her case plan
was to comply with the rules and policies of her
placement. . . . When [respondent-mother] has [sic]
aged out of foster care the placement component of
her case plan has [sic] changed to a requirement that
[respondent-mother] obtain and maintain stable
housing suitable for her and the juvenile.
[Respondent-mother] has not made any progress on
this component of her case plan. . . . On March 8,
2018, [respondent-mother] reported that she had her
own apartment, however, the lease she provided on
April 5, 2018 stated that the lease term ended on
April 1, 2018. On July 26, 2018, [respondent-mother]
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again reported that she had her own two-bedroom
apartment paying $375.00 per month in rent.
[Respondent-mother] went on to state that she was
sharing the apartment with her sister but since her
sister moved out, the rent was taking up her entire
check. On August 10, 2018, [respondent-mother]
reported that she was living with her mother
because her apartment complex made her move out
due to safety concerns. [Respondent-mother]
explained that a domestic violence incident occurred
between her and her ex-boyfriend, and the ex-
boyfriend trashed her apartment. . . . On September
18, 2018, [respondent-mother] reported that she was
living with her grandmother. [Respondent-mother]
was advised that Section 8 had openings . . . by
[DSS] and [respondent-mother] was urged to go
apply for the opening immediately. Despite being
given this resource, [respondent-mother] moved out
of her grandmother’s home and is currently renting
a room [in Greensboro]. . . . To-date [sic],
[respondent-mother] has failed to demonstrate any
stability with regard to her living situation, and she
is not in compliance with this component of her case
plan. [Respondent-mother] entered into a Voluntary
Placement Agreement on August 9, 2018. . . .

When [respondent-mother] entered into the
Voluntary Placement Agreement she was residing
. . . in her own apartment, but she moved out due to
safety concerns with her ex-boyfriend. On August
30, 2018 [respondent-mother] reported that she was
living with a friend [in Greensboro]. On September
18, 2018 [respondent-mother] reported that she was
staying with her grandmother and great
grandmother. . . . She advised Social Worker Young
and Social Worker Stewart that she could not stay
with her friend anymore. [Respondent-mother] was
advised that all moves need to be reported in order
to get approval. On November 16, 2018 Social
Worker Stewart met with [respondent-mother] who
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stated that things weren’t going well and that she
needed to be out of her grandmother’s home by the
end of the month. Ms. Stewart provided [respondent-
mother] with housing resources. [Respondent-
mother] moved [to another house]. She was renting
a room in this house with several others. She was
paying $250 per month for rent and was responsible
for the light bill. On January 11, 2019 SW Stewart
spoke with [respondent-mother] who stated that she
had to leave her previous placement and was now
living with her father because she has no place else
to go. She was advised that her VPA will be
terminated because she was living with her father
and that they would meet the next week to get VPA
termination papers signed. On January 22, 2019 SW
Stewart spoke with [respondent-mother] who stated
that she was now living with a friend [in
Greensboro]. As of March 18, 2019, [respondent-
mother] continue [sic] to reside at [that] address.
She stated that she had put in an application for
housing [elsewhere], however she still has an
outstanding balance of $1000.00 on her housing
record. [Respondent-mother] did advise [DSS] that
she is currently living at another address but failed
to provide the actual address.

d. Substance Abuse—[Respondent-mother] has not
made any progress in addressing her substance
abuse needs. . . . On October 10, 2018, Social Worker
Young referred [respondent-mother] for a substance
abuse assessment. . . . To date, [respondent-mother]
has not completed a substance abuse assessment.
On August 31, 2018, [respondent-mother] was asked
to comply with a drug screen by no later than
September 4, 2018. [Respondent-mother] did not
comply. [Respondent-mother] was also asked to
submit to a drug screen on September 18, 2018, and
she did not comply. On October 17, 2018,
[respondent-mother] was ordered by the court to
submit to a drug screen by the end of the day.
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                             [Respondent-mother] submitted to a drug screen on
                             October 18, 2018 and tested positive for marijuana.
                             On November 13, 2018, the assigned social worker
                             requested that [respondent-mother] submit to a
                             random drug screen, and [respondent-mother] did
                             not comply. As of the filing of the petition,
                             [respondent-mother] has only submitted to one drug
                             screen which was positive for marijuana.
                             [Respondent-mother] is not in compliance with the
                             substance abuse component of her case plan.

                      ....

                     25. . . .

                             ....

                             b. The lack of reasonable progress under the
                             circumstances is not due solely to the poverty of
                             [respondent-mother] . . . but is the direct result of
                             [her] failure to address the conditions that led to the
                             removal of the juvenile, including [respondent-
                             mother’s] failure to maintain stable housing, failure
                             to attend parenting classes, failure to cooperate with
                             drug screens, [and] failure to attend visits . . . .

       We conclude that these findings support the trial court’s conclusion that respondent-

       mother failed to make reasonable progress under the circumstances to correct the

       conditions which led to Quentin’s removal.3

                                         IV.    Conclusion

¶ 24          We conclude that the trial court properly found that grounds existed to


              3 Respondent-mother argues that she has made reasonable progress, pointing to her

       participation in a DSS program for people transitioning out of foster care. However, her
       participation in that program alone is not sufficient to prevent or negate the conclusion that
       she has failed to make reasonable progress.
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terminate respondent-mother’s parental rights under N.C.G.S. § 7B-1111(a)(2). The

trial court’s conclusion that one statutory ground for termination existed is sufficient

in and of itself to support termination of respondent-mother’s parental rights. In re

E.H.P., 372 N.C. 388, 395 (2019). Therefore, we need not address respondent-mother’s

arguments regarding N.C.G.S. § 7B-1111(a)(1), (3), (6), and (7). Furthermore,

respondent-mother does not challenge the trial court’s conclusion that termination of

her parental rights was in Quentin’s best interests. See N.C.G.S. § 7B-1110(a) (2019).

Accordingly, we affirm the trial court’s order terminating respondent-mother’s

parental rights.

      AFFIRMED.
             Justice EARLS dissenting.


¶ 25         The result of the majority’s decision today is that a nineteen-year-old mother

       who became pregnant when she was sexually assaulted as a thirteen-year-old girl

       will permanently and unnecessarily lose her right to maintain any relationship with

       her child. The trial court’s findings of fact do not support the conclusion that

       petitioner has met its burden of “proving by clear, cogent, and convincing evidence

       the existence of one or more grounds for termination under section 7B-1111(a) of the

       General Statutes.” In re K.D.C., 375 N.C. 784, 788 (2020) (cleaned up). This decision

       is not compelled by North Carolina law and illustrates this Court’s continued refusal

       to accord sufficient respect to a parent’s fundamental constitutional-liberty interest

       in raising their child. Accordingly, I respectfully dissent.

                                   V.    Factual Background

¶ 26         The circumstances underlying the present case are highly distressing.

       Respondent’s own mother was convicted of aiding and abetting in the sexual assault

       perpetrated by a twenty-year-old man which led to respondent’s pregnancy. After the

       assault, respondent was first placed with her grandmother, who quickly realized that

       she was unable to provide respondent with adequate care. On 5 March 2014,

       respondent was adjudicated to be a dependent juvenile and placed into the custody of

       the Guilford County Department of Social Services (DSS). Three days later,

       respondent gave birth to her son, Quentin. Twelve days after Quentin was born, he

       was also adjudicated to be a dependent juvenile due to respondent’s “inability to care
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         for herself, much less an infant child.”

¶ 27           Initially, respondent and Quentin were placed together in a foster home.

         Respondent entered into a case plan on 5 June 2014. Although respondent

         occasionally exhibited disruptive or inappropriate behaviors while in foster care, she

         substantially complied with her case plan and made continuous progress towards

         reunification over the next four years, despite experiencing frequent instability as

         she was moved between numerous foster care placements. There is no evidence in the

         record that respondent ever abused Quentin, nor is there evidence that her behaviors

         ever exposed Quentin to a significant risk of harm. Respondent aged out of the foster

         care system when she turned eighteen on 30 November 2017. Less than two years

         later, the trial court terminated her parental rights to Quentin.

       VI.   Willful Failure to Make Reasonable Progress Under the Circumstances:
                                     N.C.G.S. § 7B-1111(a)(2)

¶ 28           In affirming the trial court’s order terminating respondent’s parental rights on

         the grounds that she has willfully failed to make reasonable progress towards

         correcting the conditions that led to Quentin’s removal, the majority ignores the

         myriad constraints on respondent’s ability to comply with her case plan imposed by

         respondent’s circumstances. This unwillingness to examine the realities of

         respondent’s situation—particularly her age and her recent experience attempting to

         transition out of the foster care system—is inconsistent with the “ongoing

         examination of the circumstances” we have previously deemed appropriate in
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       assessing a respondent-parent’s reasonable progress under N.C.G.S. § 7B-1111(a)(2).

       In re B.O.A., 372 N.C. 372, 382 (2019). Accordingly, I disagree with the majority’s

       approach and would instead hold that the trial court was required to consider

       respondent’s holistic circumstances in assessing both the willfulness of her conduct

       and the reasonableness of the progress she made towards correcting the conditions

       that led to Quentin’s removal.

¶ 29         Pursuant to N.C.G.S. § 7B-1111(a)(2), a court may terminate a respondent-

       parent’s parental rights when the parent has “willfully left the juvenile in foster care

       or placement outside the home for more than 12 months without showing to the

       satisfaction of the court that reasonable progress under the circumstances has been

       made in correcting those conditions which led to the removal of the juvenile.” N.C.G.S.

       § 7B-1111(a)(2) (2019). We have previously explained that “[w]illfulness is

       established when the respondent had the ability to show reasonable progress, but

       was unwilling to make the effort.” In re S.M., 375 N.C. 673, 685 (2020) (quoting In re

       McMillon, 143 N.C. App. 402, 410, disc. review denied, 354 N.C. 218 (2001)); see also

       In re Matherly, 149 N.C. App. 452, 455 (2002) (“Evidence showing a parents’ ability,

       or capacity to acquire the ability, to overcome factors which resulted in their children

       being placed in foster care must be apparent for willfulness to attach.”). A trial court

       cannot fulfill its obligation to assess willfulness when it blinds itself to important

       context. The trial court must consider that context even if some of the relevant events
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                                          Earls, J., dissenting



       occurred before the respondent-parent reached the age of majority. In this case,

       respondent’s experiences both within and immediately upon leaving the foster care

       system are relevant in assessing the willfulness of the conduct which forms the basis

       of DSS’s termination petition. See In re Pierce, 356 N.C. 68, 75 n.1 (2002) (“[T]here is

       no specified time frame that limits the admission of relevant evidence pertaining to

       a parent’s ‘reasonable progress’ or lack thereof.”).

¶ 30         For four years after giving birth to Quentin at the age of fourteen, respondent

       continued making progress towards reunification with her son to the repeated

       satisfaction of the trial court. She continued making progress even while she was

       moved across multiple placements and while dealing with all of the ordinary

       challenges of adolescence, compounded by the fact that she was a minor parent who

       was herself in DSS custody. Throughout this difficult period, respondent remained

       committed to learning to parent Quentin. She undeniably developed a meaningful

       bond with her child. Her persistence in the face of tremendous adversity suggests

       that her conduct which forms the basis of the underlying termination petition—

       conduct which occurred during a short period of time immediately after the

       respondent reached the age of majority and while she was attempting to make the

       difficult transition from foster care to independent living—reflected difficulties

       inherent in her unique circumstances which would be resolved in time, rather than a

       willful failure to make reasonable progress within the meaning of N.C.G.S. § 7B-
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       1111(a)(2).1 Cf. Lecky v. Reed, 20 Va. App. 306, 312 (1995) (holding that termination

       of minor parent’s parental rights was warranted because “[n]othing in this record

       attributes mother’s parental deficiencies to her age or suggests that the mere passage

       of time would resolve her difficulties”).

¶ 31          The trial court’s and the majority’s steadfast refusal to fully consider

       respondent’s circumstances is also inconsistent with the realities of adolescent

       development. Although our legal system often draws a sharp distinction between

       “minors” and “adults,” this binary does not account for the fact that “psychological,

       social, and economic forces have shifted the way that people experience their late

       teens and early twenties.” Clare Ryan, The Law of Emerging Adults, 97 Wash. U. L.

       Rev. 1131, 1147 (2020). Scientific research has demonstrated that “the years from the

       late teens to the early twenties constitute a transitional period that bridges

       adolescence and mature adulthood” where “[d]evelopment is gradual, and the

       psychological boundaries between adolescence and adulthood are fuzzy.” Elizabeth S.

       Scott et al., Young Adulthood As a Transitional Legal Category: Science, Social

       Change, and Justice Policy, 85 Fordham L. Rev. 641, 645 (2016). The Court of Appeals

       has held that if a respondent-parent has not yet turned eighteen when DSS files its



              1 It is notable that in regard to respondent’s final foster care placement before reaching

       the age of majority, the trial court found that respondent “did very well in her placement with
       [the foster parent] as [the foster parent] provided strong support and guidance for respondent
       to learn parenting skills.” Respondent only left this placement when she aged out of the foster
       care system upon turning eighteen.
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       termination petition, the trial court is required to “make specific findings of fact

       showing that a minor parent’s age-related limitations as to willfulness have been

       adequately considered.” In re Matherly, 149 N.C. App. at 455. I agree with the Court

       of Appeals and would hold trial courts to the same requirement when the respondent-

       parent is a young adult, especially when, as here, many of the pertinent events

       occurred prior to the parent reaching the age of majority.2

¶ 32          We need not and should not adopt the fictitious presumption that everything

       respondent did after she turned eighteen was willful. Instead, we should examine her

       circumstances and capacities holistically, acknowledging “[r]ecent research in

       neuroscience and developmental psychology [which] indicates that individuals

       between the ages of 18 and 21 share many of the[ ] same characteristics” as minors.

       Pike v. Gross, 936 F.3d 372, 385 (6th Cir. 2019) (Stranch, J., concurring), cert. denied,

       207 L. Ed. 2d 171 (U.S. 2020). This research has particular implications for children

       in foster care who must immediately attempt to live independently at age eighteen.

       “It is now well established among social scientists that young adults who emancipate

       from foster care, when compared to their peers, are far more likely to suffer from


              2  Regardless, the trial court made numerous factual findings regarding incidents
       which occurred prior to respondent reaching the age of majority, including factual findings
       regarding her purported disruption of foster care placements. The trial court relied on these
       factual findings in arriving at its ultimate conclusion that respondent had willfully failed to
       make reasonable progress to correct the conditions that led to Quentin’s removal. However,
       a legitimate question arises in this case of whether respondent’s conduct relating to
       correcting those conditions was willful during the period that she was in foster care. The
       trial court’s factual findings do not address that question.
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                                    Earls, J., dissenting



homelessness, unemployment, unplanned pregnancy, lack of health care, and

incarceration, among other problems.” Bruce A. Boyer, Foster Care Reentry Laws:

Mending the Safety Net for Emerging Adults in the Transition to Independence, 88

Temp. L. Rev. 837, 837 (2016). As Boyer explains:

             Both social scientists and neurologists now recognize that
             true “adult” functioning, measured in terms of cognitive,
             behavioral, and social maturity, is not achieved for the
             majority of emerging adults until well into the third decade
             of life. During this transitional phase, while most young
             people begin the process of separating from their families,
             few do so precipitously or without setbacks. Studies
             generally place the median age at which adolescents first
             leave home in the early twenties, and many of those
             adolescents who leave home for the first time between the
             ages of eighteen and twenty-four return to live in their
             parental households at some time thereafter, even if only
             for a short time. One recent study found that
             approximately 55% of young men and 46% of young women
             between eighteen and twenty-four years old were living at
             home with one or both of their parents. Other studies have
             concluded that the average age at which children in the
             general population finally depart the home is twenty-eight.
             The staging of the transition to independence is
             particularly indispensable for youth from less well-off
             families seeking to balance work, school, and the
             achievement of the credentials needed to sustain
             independence.

Id. at 840–41 (footnotes omitted). The failure to examine respondent’s progress in

light of this context is a legal error because it reflects a failure to properly apply the

statutory mandate to consider respondent’s reasonable progress “under the

circumstances.” N.C.G.S. § 7B-1111(a)(2).
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                                          Earls, J., dissenting



¶ 33         Therefore, in this case, the trial court’s findings do not support the conclusion

       that respondent “had the ability to show reasonable progress, but was unwilling to

       make the effort.” In re S.M., 375 N.C. at 685 (quoting In re McMillon, 143 N.C. App.

       at 410). The evidence instead only indicates that respondent failed to make more

       progress than she did due to her limited capacities as a very young parent who was

       attempting to live independently for the first time, without the benefit of adequate

       financial resources or a support network. Although the state maintains a substantial

       interest in the welfare of all children in North Carolina, including those born to minor

       parents, consideration of a young parent’s circumstances is consistent with the

       Juvenile Code’s goals of protecting juveniles “by means that respect both the right to

       family autonomy and the juveniles’ needs” while “preventing the unnecessary or

       inappropriate separation of juveniles from their parents.” N.C.G.S. § 7B-100(3)–(4)

       (2019).

¶ 34         Additionally, the majority misses the mark in summarily disregarding

       respondent’s “participation in a DSS program for people transitioning out of foster

       care.” Although respondent acknowledges that she did not fully comply with her case

       plan after reaching the age of majority, she argues that her engagement with the NC

       LINKS program—which provides services to young adults exiting the foster care

       system to help them attain education, employment, health, and housing stability—is

       relevant in assessing whether she made reasonable progress towards correcting the
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                                          Earls, J., dissenting



       conditions which led to Quentin’s removal. In this case, as the majority notes, the

       requirements of respondent’s case plan “were tied to [her] need to demonstrate

       maturity and stability.” Certainly, respondent’s participation in a program designed

       to assist young adults in achieving positive life outcomes is a possible indicator of her

       increased maturity. Because participation in the NC LINKS program is entirely

       optional, respondent’s choice to seek out additional support could reflect an

       awareness of her own limitations and a recognition that she needed help in order to

       adequately care for herself and her son. Further, if respondent’s participation in the

       NC LINKS program helped her advance her education, obtain employment and

       housing, and improve her mental and physical health, then she would have made

       substantial progress towards addressing the material conditions which rendered her

       unable to parent Quentin.

¶ 35         We have never held that a respondent-parent’s compliance, or lack thereof,

       with a DSS case plan is dispositive in determining whether the requirements of

       N.C.G.S. § 7B-1111(a)(2) have been met. This statutory ground does not permit

       termination of parental rights merely on the basis that a respondent-parent has

       failed to comply with his or her case plan. In re E.C., 375 N.C. 581, 585 (2020) (“A

       trial court should refrain from finding that a parent has failed to make reasonable

       progress in correcting the conditions that led to the children’s removal ‘simply

       because of his or her failure to fully satisfy all elements of the case plan goals.’ ”
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                                   Earls, J., dissenting



(quoting In re B.O.A., 372 N.C. at 385)). Rather, it permits termination only when a

parent has failed to make “reasonable progress under the circumstances” towards

“correcting those conditions which led to the removal of the juvenile.” N.C.G.S. § 7B-

1111(a)(2). A parent’s compliance with a case plan is often evidence that he or she

has made reasonable progress under the circumstances because case plans are

typically developed to address the specific conditions which led to a child’s removal.

See In re J.S., 374 N.C. 811, 815–16 (2020) (“[I]n order for a respondent’s

noncompliance with her case plan to support the termination of her parental rights,

there must be a nexus between the components of the court-approved case plan with

which the respondent failed to comply and the conditions which led to the child’s

removal from the parental home.” (cleaned up)). However, it is possible for a parent

to make reasonable progress towards addressing the substantive conditions which

led to a child’s removal from the parental home in a manner other than the one

specified in a DSS-approved case plan. See, e.g., In re K.D.C., 375 N.C. at 792 (holding

that petitioner had failed to prove grounds existed under N.C.G.S. § 7B-1111(a)(2)

where “respondent-mother failed to complete a parenting class as required by her

case plan, . . . [but] completed a ‘Mothering’ class, which appears to be at least a

plausible attempt by respondent-mother to complete her case plan and to improve

her parenting skills”). Accordingly, the trial court erred in failing to consider

respondent’s participation in the NC LINKS program as probative evidence of her
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                                           Earls, J., dissenting



       progress towards addressing the conditions that led to Quentin’s removal. If

       respondent was able to address the substantive barriers preventing her from caring

       for Quentin through her participation in the NC LINKS program, then N.C.G.S. § 7B-

       1111(a)(2) does not supply a ground for terminating her parental rights.

¶ 36          Finally, the trial court erred in failing to assess whether respondent’s inability

       to meet the requirements of her case plan stemmed from her poverty, rather than her

       willful conduct. See In re M.A., 374 N.C. 865, 881 (2020) (“[P]arental rights are not

       subject to termination in the event that [a parent’s] inability to care for her children

       rested solely upon poverty-related considerations . . . .”). The trial court’s bare

       assertion that “[t]he lack of reasonable progress under the circumstances is not due

       solely to the poverty of [respondent], but is the direct result of [her] failure to address

       the conditions that led to the removal of the juvenile,” is puzzling given the evidence

       that respondent’s lack of financial resources caused her to be unable to meet the

       conditions of her case plan. For example, the trial court notes that respondent “had

       put in an application for housing” but that “she still ha[d] an outstanding balance of

       $1000.00 on her housing record.” The record discloses that respondent made

       numerous efforts to obtain housing after reaching the age of majority. Thus, there is

       evidence in the record indicating that respondent’s poverty, rather than a lack of

       effort, directly caused her continued inability to maintain stable housing. The trial

       court’s conclusory finding that respondent’s lack of progress was not due to poverty
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                                          Earls, J., dissenting



       is insufficient to support the legal conclusion that respondent had the actual ability

       to comply with the conditions imposed by her case plan. Cf. In re McMillon, 143 N.C.

       App. at 412 (affirming order terminating parental rights despite respondent’s claim

       that he was impoverished because “[t]he components of the DSS plan did not require

       material resources”); In re A.W., 237 N.C. App. 209, 217 (2014) (affirming order

       terminating parental rights when “there was a sufficient basis in the record for

       terminating the Father’s parental rights that had nothing to do with poverty”).

                                   VII.    Other Grounds

¶ 37         Having wrongfully affirmed the portion of the trial court’s order concluding

       that respondent willfully failed to make reasonable progress within the meaning of

       N.C.G.S. § 7B-1111(a)(2), the majority does not address any of the other grounds for

       terminating respondent’s parental rights adjudicated by the trial court. With regard

       to these other grounds, I would also hold that the trial court’s conclusions are not

       supported by clear, cogent, and convincing evidence.

¶ 38         First, there is insufficient evidence in the record to support the conclusion that

       grounds exist to terminate respondent’s parental rights on the basis of neglect. The

       trial court’s sole conclusion of law supporting termination pursuant to N.C.G.S. § 7B-

       1111(a)(1) is that respondent was presently neglecting Quentin based on her failure

       to comply with her case plan. However, respondent’s failure to comply with her case

       plan cannot establish ongoing neglect in this case because respondent has not had
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                                          Earls, J., dissenting



       custody of her son for many years. Because there is insufficient evidence that Quentin

       was a neglected child within the meaning of N.C.G.S. § 7B-101(15), petitioner must

       prove that respondent previously neglected Quentin and that she is likely to do so

       again in the future. In re R.L.D., 375 N.C. 838, 841 n.3 (2020). The only evidence of

       prior neglect that petitioner can point to is respondent’s conduct in the immediate

       aftermath of giving birth to Quentin as a fourteen-year-old, when she left Quentin in

       the hospital for two days. There is no evidence that Quentin was in any way harmed

       by respondent’s brief absence. Accordingly, I would hold that the record does not

       support the conclusion that respondent’s parental rights may be terminated under

       N.C.G.S. § 7B-1111(a)(1).

¶ 39         Second, the evidence presented at trial does not support the conclusion that

       respondent willfully failed to pay a reasonable portion of the cost of caring for Quentin

       pursuant to N.C.G.S. § 7B-1111(a)(3). The evidence indicates that respondent made

       three child support payments during the six months preceding the filing of the

       termination petition. The evidence also indicates that the total amount paid by

       respondent was less than the total amount she owed during this period. This Court

       has not addressed whether the ground provided for in N.C.G.S. § 7B-1111(a)(3) is

       automatically triggered whenever a parent fails to pay the full amount of a valid child

       support obligation. Regardless, the evidence establishes that respondent did not fail

       to pay a reasonable portion of the cost of care “for a continuous period of six months
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                                          Earls, J., dissenting



       immediately preceding the filling of the petition” because she paid the full amount of

       child support owed for a monthly period on at least one occasion during these six

       months. N.C.G.S. § 7B-1111(a)(3) (emphasis added). Accordingly, I would hold that

       N.C.G.S. § 7B-1111(a)(3) does not support the termination of respondent’s parental

       rights.

¶ 40         Third, the record evidence plainly does not support the conclusion that

       respondent is incapable of caring for Quentin within the meaning of N.C.G.S. § 7B-

       1111(a)(6). According to the trial court, this ground for termination has been met

       because respondent once tested positive for marijuana. However, as Quentin’s

       guardian ad litem rightly conceded in its brief, evidence that a parent uses drugs is

       insufficient to prove that the parent is incapable of caring for his or her child absent

       a finding that the parent’s drug use will “prevent the parent from providing [the child

       with] proper care and supervision.” In re D.T.N.A., 250 N.C. App. 582, 585 (2016).

       The record is bereft of any evidence suggesting that respondent’s purported substance

       abuse problem caused her to be “incapable of providing for the proper care and

       supervision of” Quentin. N.C.G.S. § 7B-1111(a)(6). Thus, the trial court erred in

       concluding that the requirements of N.C.G.S. § 7B-1111(a)(6) had been met.

¶ 41         Finally, the record does not support the conclusion that respondent willfully

       abandoned Quentin within the meaning of N.C.G.S. § 7B-1111(a)(7). In order to

       establish willful abandonment, there must be evidence establishing that respondent
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                                         Earls, J., dissenting



       evinced a “purposeful, deliberative and manifest willful determination to forego all

       parental duties and relinquish all parental claims to [the child].” In re A.G.D., 374

       N.C. 317, 319 (2020) (alteration in original) (quoting In re N.D.A., 373 N.C. 71, 79

       (2019)). Here, respondent made multiple child support payments in the six months

       immediately preceding the filing of the termination petition. In addition, she enrolled

       in the NC LINKS program, purportedly in an effort to address the deficiencies which

       prevented her from providing for Quentin as his parent. These actions are

       inconsistent with the conclusion that respondent “deliberately eschewed . . . her

       parental responsibilities in their entirety.” In re E.B., 375 N.C. 310, 318 (2020).

       Accordingly, I would hold that petitioner has not met its burden of proving that

       respondent willfully abandoned Quentin pursuant to N.C.G.S. § 7B-1111(a)(7).

                                     VIII.    Conclusion

¶ 42         Simply put, neither the termination statutes nor our precedents endorse the

       blinkered approach the majority adopts in reviewing the trial court’s order

       terminating respondent’s parental rights. The majority’s analysis entirely ignores the

       likelihood that respondent’s behavior in the year subsequent to reaching the age of

       majority was substantially influenced by the conditions she lived in during the

       preceding years when she was in DSS custody. To the extent that respondent may

       have lacked the resources or capacity to parent Quentin immediately upon turning

       eighteen, then DSS itself bears a substantial share of the responsibility as her
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                                  Earls, J., dissenting



caregiver. The outcome of the majority’s decision unfairly punishes a young mother

who has exhibited remarkable fortitude in striving to raise her child under difficult

circumstances. Accordingly, I would vacate the trial court’s order terminating

respondent’s parental rights and remand for further factfinding which considers all

of the relevant evidence, including her circumstances, financial resources, and

participation in the NC LINKS program, in determining whether she willfully failed

to make reasonable progress in correcting the conditions which led to Quentin’s

removal.
